976 F.2d 727
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert RIDDICK, Plaintiff-Appellant,v.MARYLAND Parole Commission, Defendant-Appellee.
    No. 92-6638.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  September 18, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  John R. Hargrove, District Judge.  (CA-92-1426-HAR)
      Robert Riddick, Appellant Pro Se.
      D.Md.
      Affirmed.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Robert Riddick appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Riddick v. Maryland Parole Commission, No. CA-92-1426-HAR (D. Md. June 3, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    